       Case: 1:99-cr-00332-JG Doc #: 889 Filed: 10/04/11 1 of 2. PageID #: 392




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )                CASE NO. 1:99cr00332-005
                                             )
        Plaintiff,                           )                JUDGE JAMES S. GWIN
                                             )
vs.                                          )                ORDER
                                             )
BRYANT L. BROOKS,                            )
                                             )
        Defendant.                           )



        This matter was heard on October 3, 2011, upon the request of the United States Pretrial

and Probation Office for a finding that defendant had violated the conditions of his supervised

release. Defendant was present and represented by Attorney Timothy Ivey.

        The original violation report was referred to Magistrate Judge Nancy Vecchiarelli on

September 9, 2011, [Doc. 881] to conduct appropriate proceedings and for the issuance of a

Report and Recommendation. The Report and Recommendation was entered on September 15,

2011 [Doc. 886]. No objections to the Report and Recommendation were filed by counsel for

the parties.

        The Court adopted and Report and Recommendation of the Magistrate Judge and found

that the terms of supervision had been violated as follows:

               1) new law violation of operating a motor vehicle under the influence;

               2) new law violation of criminal damaging and menacing;

               3) new law violation of violation of a Temporary Protection Order;
      Case: 1:99-cr-00332-JG Doc #: 889 Filed: 10/04/11 2 of 2. PageID #: 393




               4) new law violation of obstructing official business.

               The Court accepted the recommendation of both counsel for the parties and

defendant was remanded to the custody of the Bureau of Prisons for a period of eight months

with credit for time served in federal custody on the instant violations. Upon release from

incarceration defendant’s period of supervised release shall terminate.

       IT IS SO ORDERED.



Dated: October 4, 2011                               s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
